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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION



LIGHTING SCIENCE GROUP
CORPORATION,

       Plaintiff,                                            Case No. 6:16-cv-00681-Orl-37-KRS

v.                                                           JURY TRIAL DEMANDED

GLOBALUX LIGHTING LLC,

       Defendant.
                                      /


            SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Lighting Science Group Corporation, through its attorneys, alleges the following:

                                            PARTIES

       1.      Plaintiff Lighting Science Group Corporation (“LSG” and/or “Plaintiff”) is a

corporation organized and existing under the laws of Delaware, with its principal place of business

at 811 N. Atlantic Avenue, Cocoa Beach, Florida 32931.

       2.      Upon information and belief, Defendant GlobaLux Lighting LLC (“GlobaLux”) is

a limited liability company organized and existing under the laws of California but does business

throughout the United States, including Florida.

                                JURISDICTION AND VENUE

       3.      This is a claim for patent infringement and arises under the patent laws of the United

States, Title 35 of the United States Code. This Court has jurisdiction over the subject matter of

this claim under 28 U.S.C. §§ 1331 and 1338(a).

       4.      This Court has personal jurisdiction over the Defendant because the Defendant is



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transacting business within this District and has committed acts and, on information and belief,

will continue to commit acts within this District giving rise to this action, including offering to sell

and selling infringing products and/or placing infringing products, directly or through

intermediaries (including distributors, retailers, and others), into the stream of commerce in such

a way as to reach customers in this District. Defendant has purposefully and voluntarily sold one

or more of its infringing products with the expectation that they will be purchased by consumers

in this District. These infringing products have been and continue to be purchased by consumers

in this District. Defendant has committed acts of patent infringement within the United States and

more particularly, within this District.

        5.       Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b).

                                               FACTS

        6.       Plaintiff is a world leader in the invention, development, and sale of LED lighting

solutions. Plaintiff’s lighting scientists have earned more than 375 patents for their innovations in

the LED field.

        7.       Among Plaintiff’s diverse product array of LED lighting solutions is a line of highly

efficient lighting devices that can be retrofitted into existing lighting units, offered to the public

under the brand GLIMPSE®.

        8.       Plaintiff’s GLIMPSE® lighting products have enjoyed significant success in the

market.

        9.       The function of the GLIMPSE® lighting products are protected by patents,

including the asserted patents.

        10.      Upon information and belief, Defendant has infringed and will continue to infringe

at least one claim of each of the asserted patents by making, using, selling or offering to sell in, or

importing into the United States, downlight luminaires, including, but not limited to, the

Recessed/Surface Mount Downlight Kit Model LDL-6-15LED, LDL-6-13LED and LRT-4-

13LED family of products (the “Accused Products”).
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       11.     Specifically, upon information and belief, Defendant received the Accused

Products in the United States and thereafter distributed and/or sold the products to its customers in

the United States.

       12.     Upon information and belief, as a result of the foregoing distribution of the Accused

Products by Defendant, the Accused Products are offered for sale throughout the United States

online, on both Defendant’s website and by Defendant via various e-commerce marketplace and

retail locations throughout the United States.

       13.     Upon information and belief, Defendant’s conduct constitutes direct infringement

of the asserted patents, whether such infringement is literal or under the doctrine of equivalents.

       14.     Upon information and belief, Defendant is continuing to engage in its infringing

activities. The Accused Products remain for sale including, at least, on their own website and on

various e-commerce marketplace and retail locations throughout the United States.

              http://www.globaluxlighting.com/product/led-disk-light-2/

              http://www.globaluxlighting.com/product/led-recessed-downlight-retrofit-trim/

Attached hereto as Exhibit A.

       15.     The Accused Products have no substantially non-infringing use.

       16.     Plaintiff has not licensed or authorized any of the actions of Defendant, either

expressly or by implication. Defendant has no license to practice any of the asserted patents.

       17.     Plaintiff has been injured by the infringing conduct of Defendant, and is entitled to

damages adequate to compensate it for such infringement.

       18.     Defendant’s infringing conduct has caused and continues to cause irreparable injury

to Plaintiff, for which remedies at law are inadequate to compensate Plaintiff. The award of a

permanent injunction against further manufacture, use, sale, importation, and/or offer for sale of

products that infringe any of the asserted patents is warranted.




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                                           COUNT I
                           (Infringement of U.S. Patent No. 8,201,968)

       19.     Plaintiff repeats and re-alleges Paragraphs 1-18 as though fully set forth herein.

       20.     Plaintiff is the owner by assignment of United States Patent No. 8,201,968 entitled

“Low Profile Light,” which was duly and legally issued by the USPTO on June 19, 2012 (the “’968

Patent”). A true and correct copy of the ‘968 Patent is attached hereto as Exhibit B.

       21.     The ’968 Patent is valid and enforceable and Plaintiff has the full right to recover

for past infringement damages and the right to recover future royalties, damages and income.

       22.     To the extent any marking or notice was required by 35 U.S.C. § 287, Plaintiff, and

all predecessors in interest and/or implied or express licensees of the ’968 Patent, if any, have

complied with the marking requirements of 35 U.S.C. § 287 by placing a notice of the ’968 Patent

on all goods made, offered for sale, sold, and/or imported into the United States that embody one

or more claims of that patent and/or providing actual or constructive notice to Defendant.

       23.     Upon information and belief, Defendant has infringed and will continue to infringe

at least Claims 1 and 20 of the ‘968 Patent by, among other activities, making, using, selling or

offering to sell in or importing into the United States its Recessed/Surface Mount Downlight Kit

Model LDL-6-15LED and LDL-6-13LED family of products, as detailed in the attached

preliminary and exemplary infringement charts, attached hereto as Exhibit C. This chart is not

intended to limit Plaintiff’s right to modify this chart or any other claim chart or allege that other

activities of Defendant infringe the identified claims of the ‘968 Patent or any other patents. Exhibit

C is hereby incorporated by reference in its entirety. Each claim element in Exhibit C that is

mapped to the accused product shall be considered an allegation within the meaning of the Federal

Rules of Civil Procedure and therefore a response to each allegation is required.

       24.     Defendant is liable for direct infringement, either literally or under the doctrine of

equivalents of the ’968 Patent pursuant to 35 U.S.C. §271 (a).

       25.     Defendant’s infringement has injured Plaintiff, and Plaintiff is entitled to recover

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damages adequate to compensate it for such infringement.

       26.     Upon information and belief, Defendant’s acts of infringement are willful,

warranting the assessment of increased damages pursuant to 35 U.S.C. § 284, and warrant a finding

that this is an exceptional case, pursuant to 35 U.S.C. § 285.

       27.     Defendant’s infringing activities have injured and will continue to injure Plaintiff,

unless and until this Court enters an injunction prohibiting further infringement and, specifically,

enjoining further manufacture, use, sale, importation, and/or offer for sale of products that come

within the scope of the claims of the ’968 Patent.

                                         COUNT II
                          (Infringement of U.S. Patent No. 8,672,518)

       28.     Plaintiff repeats and re-alleges Paragraphs 1-18 as though fully set forth herein.

       29.     Plaintiff is the owner by assignment of United States Patent No. 8,672,518 entitled

“Low Profile Light And Accessory Kit For The Same,” which was duly and legally issued by the

USPTO on March 18, 2014 (the “’518 Patent”). A true and correct copy of the ’518 Patent is

attached hereto as Exhibit D.

       30.     The ’518 Patent is valid and enforceable and Plaintiff has the full right to recover

for past infringement damages and the right to recover future royalties, damages and income.

       31.     To the extent any marking or notice was required by 35 U.S.C. § 287, Plaintiff, and

all predecessors in interest and/or implied or express licensees of the ’518 Patent, if any, have

complied with the marking requirements of 35 U.S.C. § 287 by placing a notice of the ’518 Patent

on all goods made, offered for sale, sold, and/or imported into the United States that embody one

or more claims of that patent and/or providing actual or constructive notice to Defendant.

       32.     Upon information and belief, Defendant has infringed and will continue to infringe

at least Claim 1 of the ‘518 Patent by, among other activities, making, using, selling or offering to

sell in or importing into the United States its Recessed/Surface Mount Downlight Kit Model LDL-

6-15LED and LDL-6-13LED family of products, as detailed in the attached preliminary and

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exemplary infringement charts, Exhibit E. This chart is not intended to limit Plaintiff’s right to

modify this chart or any other claim chart or allege that other activities of Defendant infringe the

identified claims of the ‘518 Patent or any other patents. Exhibit E is hereby incorporated by

reference in its entirety. Each claim element in Exhibit E that is mapped to the accused product

shall be considered an allegation within the meaning of the Federal Rules of Civil Procedure and

therefore a response to each allegation is required.

       33.     Defendant is liable for direct infringement, either literally or under the doctrine of

equivalents of the ’518 Patent pursuant to 35 U.S.C. §271 (a).

       34.     Plaintiff has at no time either expressly or impliedly licensed Defendant to practice

the ’518 Patent.

       35.     Defendant’s infringement has injured Plaintiff, and Plaintiff is entitled to recover

damages adequate to compensate it for such infringement.

       36.     Upon information and belief, Defendant’s acts of infringement are willful,

warranting the assessment of increased damages pursuant to 35 U.S.C. § 284, and warrant a finding

that this is an exceptional case, pursuant to 35 U.S.C. § 285.

       37.     Defendant’s infringing activities have injured and will continue to injure Plaintiff,

unless and until this Court enters an injunction prohibiting further infringement and, specifically,

enjoining further manufacture, use, sale, importation, and/or offer for sale of products that come

within the scope of the claims of the ’518 Patent.

                                         COUNT III
                          (Infringement of U.S. Patent No. 8,967,844)

       38.     Plaintiff repeats and re-alleges Paragraphs 1-18 as though fully set forth herein.

       39.     Plaintiff is the owner by assignment of United States Patent No. 8,967,844 entitled

“Low Profile Light And Accessory Kit For The Same,” which was duly and legally issued by the

USPTO on March 3, 2015 (the “’844 Patent”). A true and correct copy of the ’844 Patent is

attached hereto as Exhibit F.

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       40.     The ’844 Patent is valid and enforceable and Plaintiff has the full right to recover

for past infringement damages and the right to recover future royalties, damages and income.

       41.     To the extent any marking or notice was required by 35 U.S.C. § 287, Plaintiff, and

all predecessors in interest and/or implied or express licensees of the ‘844 Patent, if any, have

complied with the marking requirements of 35 U.S.C. § 287 by placing a notice of the ’844 Patent

on all goods made, offered for sale, sold, and/or imported into the United States that embody one

or more claims of that patent and/or providing actual or constructive notice to Defendant.

       42.     Upon information and belief, Defendant has infringed and will continue to infringe

at least Claims 1 and 24 of the ’844 Patent by, among other activities, making, using, selling or

offering to sell in or importing into the United States its Recessed/Surface Mount Downlight Kit

Model LDL-6-15LED and LDL-6-13LED family of products, as detailed in the attached

preliminary and exemplary infringement charts, Exhibit G. This chart is not intended to limit

Plaintiff’s right to modify this chart or any other claim chart or allege that other activities of

Defendant infringe the identified claims of the ‘844 Patent or any other patents. Exhibit G is hereby

incorporated by reference in its entirety. Each claim element in Exhibit G that is mapped to the

accused product shall be considered an allegation within the meaning of the Federal Rules of Civil

Procedure and therefore a response to each allegation is required.

       43.     Defendant is liable for direct infringement, either literally or under the doctrine of

equivalents, of the ’844 Patent pursuant to 35 U.S.C. §271 (a).

       44.     Plaintiff has at no time either expressly or impliedly licensed Defendant to practice

the ’844 Patent.

       45.     Defendant’s infringement has injured Plaintiff, and Plaintiff is entitled to recover

damages adequate to compensate it for such infringement.

       46.     Upon information and belief, Defendant’s acts of infringement are willful,

warranting the assessment of increased damages pursuant to 35 U.S.C. § 284, and warrant a finding

that this is an exceptional case, pursuant to 35 U.S.C. § 285.
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       47.      Defendant’s infringing activities have injured and will continue to injure Plaintiff,

unless and until this Court enters an injunction prohibiting further infringement and, specifically,

enjoining further manufacture, use, sale, importation, and/or offer for sale of products that come

within the scope of the claims of the ’844 Patent.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully asks this Court to enter judgment against Defendant

and against its respective subsidiaries, successors, parents, affiliates, offices, directors, agents,

servants, and employees, and all persons in privity or active concert or participation with

Defendant, granting the following relief:

             A. the entry of judgment in favor of Plaintiff and against Defendant for the

                infringement of the ‘968 Patent, the ’518 Patent, and the ’844 Patent;

             B. a preliminary injunction prohibiting further infringement of each of the ‘968 Patent,

                the’518 Patent, and the ’844 Patent by Defendant, their agents, employees,

                representatives, successors and assigns and those acting in privity or in concert with

                them;

             C. a permanent injunction prohibiting further infringement of each of the ‘968 Patent,

                the ’518 Patent, and the ’844 Patent by Defendant, their agents, employees,

                representatives, successors and assigns and those acting in privity or in concert with

                them;

             D. an award of actual damages against Defendant for damages arising from the

                infringement of each of the ‘968 Patent, the ’518 Patent, and the ’844 Patent,

                including treble damages for willful infringement, pursuant to 35 U.S.C. § 284;

             E. an award of damages against Defendant for pre-judgment and post-judgment

                interest on the damages awarded, including an award of prejudgment interest,

                pursuant to 35 U.S.C. §284, from the date of each act of infringement of the ‘968

                Patent, the ’518 Patent, and the ’844 Patent by Defendant to the day a damages
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              judgment is entered and a further award of post-judgment interest, pursuant to 28

              U.S.C. §1961, continuing until such judgment is paid, at the maximum rate allowed

              by law;

           F. the entry of judgment that this case is exceptional, and award treble damages,

              attorney fees, and the costs of this action, pursuant to 35 U.S.C. § 285;

           G. in the event a final injunction is not granted, a compulsory ongoing royalty; and

           H. such other relief to which Plaintiff is entitled under law, and any other and further

              relief that this Court or a jury may deem just and proper.

                                       JURY DEMAND

            Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all issues so
triable.



                                             /s/Mark F. Warzecha
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